"CONTAINED ONPAGE TWO

Case 5:19-cr-00213-JGB Document18 Filed 06/27/19 Page lof1 Page ID #:57

AGENT TO EXECUTE PIED

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER:

 

UNITED STATES OF AMERICA

Plaintiff(s)
Vz.

 

 

SPARKLE SHORALE NELSON,

WARRANT FOR ARREST

 

Defendant(s).

 

TO: UNITED STATES MARSHAL AND ANY AUTHORIZED UNITED STATES OFFICER

YOU ARE HEREBY COMMANDED to arrest SPARKLE SHORALE NELSON
and bring him/her forthwith to the nearest Magistrate Judge to answer a(n): [] Complaint [x] Indictment

[] Information [] Order of Court [FJ] Violation Petition [] Violation Notice
charging him/her With cewrer vescrirTion OF OFFENSE BELOW)

18 U.S.C. § 1349: Conspiracy;

18 U.S.C. § 1341: Mail Fraud;

18 U.S.C. § 1343: Wire Fraud;

18 U.S.C. § 1028A(a)(1): Aggravated Identity Theft;

20 U.S.C. § 1097(a): Financial Aid Fraud; and

18 U.S.C. § 2: Aiding and Abetting and Causing an Act to be Done

 

in violation of Title United States Code, Section(s)

 

 

 

 

 

 

 

 

 

     

 

 

 

 

Kiry K. Gray
NAME OF ISSUING OFFICER . 9
-5 2g. R vers: a,
Clerk of Court JUN ves S i dle. y A
TITLE OF ISSUING OFFICER 2 RS DATE AND LOCATION OF ISSUANCE
L. MGR Ry KENLY KIYA KATO
» * By:
SIGNATURE OF DEPUTY CLERK iS 5 i "Sa OF JUDICIAL OFFICER
< fk A
"THIS WARRANT WAS RECBIVED AND EXECUTED WITH BAUEIESA BOVE-NAMED DEBENDANT AT (LOCATION):
ane
6/ as] 19 Gren Moriao
DATE RECEIVED NAME OF ARRESTING OFFICER
6/214 [«7 U.S. Pertac lw ereete
DATE OF ARREST TITLE

 

DESCRIPTIVE INFORMATION FOR DEFENDANT

 

SIGNATURE OF ARRESTING OFFICER

 

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